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              UNITED STATES COURT OF INTERNATIONAL TRADE
                     Before: The Honorable Leo M. Gordon

CSC SUGAR LLC,

              Plaintiff,

      v.
                                              Court No. 17-00214
UNITED STATES,

              Defendant,

      and,

AMERICAN SUGAR COALITION, et al.,

              Defendant-Intervenors.


           ORDER GRANTING PLAINTIFF’S MOTION FOR JUDGMENT
             ON THE AGENCY RECORD UNDER C.I.T. RULE 56.2

      Upon consideration of Plaintiff’s Motion for Judgment on the Agency

Record Under C.I.T. Rule 56.2 and the accompanying memorandum in

support, and good cause appearing therefore, Plaintiff’s Motion is hereby

GRANTED.

      The Court hereby vacates the U.S. Department of Commerce’s final

determination in this suspension agreement: Sugar from Mexico: Amendment to

the Agreement Suspending the Countervailing Duty Investigation, 82 Fed. Reg.

31,942 (July 11, 2017) (P.R. 95), and hereby remands this determination to the

U.S. Department of Commerce with instructions to take such further action as

required by the Court’s decision in this matter.




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SO ORDERED this        day of             , 2019.


                                      _______________________________
                                      Judge Leo M. Gordon




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             UNITED STATES COURT OF INTERNATIONAL TRADE
                    Before: The Honorable Leo M. Gordon

CSC SUGAR LLC,

             Plaintiff,

      v.
                                              Court No. 17-00214
UNITED STATES,

             Defendant,

      and,

AMERICAN SUGAR COALITION, et al.,

             Intervenor Defendants.



                   PLAINTIFF’S MOTION FOR JUDGMENT
              ON THE AGENCY RECORD UNDER C.I.T. RULE 56.2

      Plaintiff CSC Sugar LLC (“Plaintiff”), by and through its attorneys, hereby

files its Motion for Judgment on the Agency Record Under C.I.T. Rule 56.2. For

the reasons more fully described in Plaintiff’s accompanying memorandum in

support, Plaintiff respectfully requests that the Court grant judgment on the

agency record in favor of Plaintiff and vacate the U.S. Department of Commerce’s

final determination in the suspension agreement Sugar from Mexico: Amendment to

the Agreement Suspending the Countervailing Duty Investigation, 82 Fed. Reg.

31,942 (July 11, 2017) (P.R. 95).

                                           Respectfully submitted,




January 18, 2019                           Counsel for Plaintiff
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                             Certificate of Service

      A true and accurate copy of the foregoing was electronically filed on January
18, 2019 via the Court’s ECF filing system, which automatically serves notice on
counsel of record.




                                      Jeffrey S. Neeley




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            UNITED STATES COURT OF INTERNATIONAL TRADE

                         Before: The Honorable Leo M. Gordon

CSC SUGAR LLC,

            Plaintiff,

     v.
                                                No. 17-00214
UNITED STATES,
                                                PUBLIC VERSION
            Defendant,

     and,

AMERICAN SUGAR COALITION, et al.,

            Defendant-Intervenors.




       MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
     JUDGMENT ON THE AGENCY RECORD UNDER C.I.T. RULE 56.2




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January 18, 2019
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                                        INTRODUCTION

         Congress designed the Tariff Act of 1930, as amended (the “Act”), to

ensure transparency in, and reviewability of, antidumping and countervailing

duty proceedings conducted by the U.S. Department of Commerce

(“Commerce”). To that end, the Act and an implementing regulation obligate

Commerce to create and maintain memoranda of ex parte meetings and to

include those memoranda in the administrative record. In this appeal,

Commerce utterly failed to satisfy its statutory obligations and create a proper

record. This failure, which even Commerce has admitted, flouted this Court’s

authority by foreclosing effective judicial review.

         Commerce recently amended the suspension agreement on the

countervailing duty investigation in Sugar from Mexico.1 The amended

agreement, which revised the long-standing definition of “refined sugar” used in

prior agreements, created a blatant preference for one segment of the domestic

industry over another segment, without any legitimate purpose.

         It is undisputed that while conducting the renegotiation proceedings in

Sugar from Mexico, high-ranking Commerce officials engaged in numerous ex

parte meetings with domestic-industry representatives. A disproportionate

number of those meetings were with representatives from the industry

segments that later received preferential treatment in the amended agreement,

while CSC Sugar’s interests were sidelined. But Commerce did not create

records of those meetings—a fact that became glaringly obvious after this Court


1   See infra Rule 56.2(c) Statement.



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ordered Commerce to produce any such records it had created, and Commerce

was admittedly incapable of producing the necessary detailed description of the

substance of those meetings and discussions.

      By failing to create the statutorily-required record of ex parte meetings,

Commerce both violated the Act and upended Congress’s intent to ensure

transparency in countervailing duty proceedings. As a result of Commerce’s

failure, interested parties—including CSC Sugar—were entirely foreclosed from

commenting on the ex parte meetings. Commerce’s error prejudiced CSC

Sugar and was not harmless, because CSC Sugar’s statutorily-protected

interest in a fair process was irreparably injured. Now, the Court is effectively

precluded from exercising its lawful authority and conducting meaningful

judicial review on the merits of Commerce’s determination.

      This Court should hold Commerce’s violation of a clear statutory

directive to be “not in accordance with law” and grant CSC Sugar’s motion for

judgment on the agency record. Because Commerce’s violation was not

harmless error and infected the suspension agreement, the Court should

vacate the agreement.

                          RULE 56.2(c) STATEMENT

I.    Administrative Determination Under Review

      This action is an appeal from Commerce’s final determination in Sugar

from Mexico: Amendment to the Agreement Suspending the Countervailing Duty

Investigation, 82 Fed. Reg. 31,942 (July 11, 2017) (P.R. 95) (the “suspension

agreement”).



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II.       Issues Presented

          1.     Whether Commerce’s failure to properly memorialize ex parte

meetings, in violation of the Act and an implementing regulation, was not in

accordance with law.

          2.     Whether, because of Commerce’s failure to memorialize ex parte

meetings, the suspension agreement should be vacated.

                                          BACKGROUND

A.        Commerce Amends the Countervailing Duty Suspension Agreement
          on Sugar from Mexico.

          In 2014, after the American Sugar Coalition and its members filed a

petition with Commerce and the U.S. International Trade Commission (“ITC”),

the agencies investigated whether imports of sugar from Mexico were being

subsidized and whether those imports were injurious to the domestic industry.

(ECF No. 57 at 3; Sugar from Mexico, Inv. Nos. 701-TA-513 and 731-TA-1249

(Preliminary), USITC Pub. 4467, at 6 (May 2014).) The ITC’s preliminary

determination stated that sugar with at least 99.5 degree polarity2 was

considered “refined sugar,” and not “raw” or “other” sugar. (Sugar from Mexico,

Inv. Nos. 701-TA-513 and 731-TA-1249 (Preliminary), USITC Pub. 4467, at 6

(May 2014).)

          Following the ITC’s preliminary determination, Commerce determined

that countervailable subsidies were being supplied to producers and exporters

of sugar from Mexico. (See ECF No. 57 at 3 (citing Sugar from Mexico:

Preliminary Affirmative Countervailing Determination and Alignment of Final

2   Polarity is the terminology in the industry used to describe the purity of the sugar.



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Countervailing Duty Determination with Final Antidumping Duty Determination,

79 Fed. Reg. 51,956 (Sept. 2, 2014).) Commerce’s preliminary countervailing

duty determination defined sugar at a polarity of 99.5 and above as “refined”

sugar. (P.R. 3.)

      On December 19, 2014, Commerce and the Government of Mexico signed

a suspension agreement. (See Sugar from Mexico: Suspension of Countervailing

Duty Investigation, 79 Fed. Reg. 78,044 (Dec. 29, 2014).) The agreement

defined “refined sugar” as sugar with a polarity of 99.5 and above. (Id.)

      Notwithstanding the suspension agreement, Commerce continued the

investigation at the request of the domestic sugar industry and made a final

determination. (See Sugar from Mexico: Final Affirmative Countervailing Duty

Determination, 80 Fed. Reg. 57337 (Sept. 23, 2015).) The definition of “refined

sugar” in this final determination remained at 99.5 polarity. (Id.)

      Beginning in June 2016, Commerce and the Government of Mexico

started negotiations regarding possible changes to the suspension agreement

based on concerns raised by some domestic producers. (See ECF No. 57 at 4

(citing Initiation of Antidumping and Countervailing Duty Administrative

Reviews, 81 Fed. Reg. 6,832, 6,839 & fn.9 (Feb. 9, 2016).)

      On June 16, 2017, Commerce and the Government of Mexico initialed

draft suspension agreement amendments for the countervailing duty

investigation. (See ECF No. 57 at 5.) The amendments proposed, without a

justified basis, that the definition of “refined sugar” be changed to 99.2

polarity, even though 99.5 polarity had been the definition since the



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investigations began in 2014, and even though one member of the domestic

industry, CSC Sugar, has a business model based on this established

standard.3 (See id. at 5.) The draft memorandum provided: “These changes,

which move the dividing line between Refined and Other Sugar down to 99.2

from 99.5 degrees and add shipping conditions for Other Sugar, address the

concern that a significant portion of Other Sugar is bypassing cane refiners for

direct consumption or end use.” (P.R. 73 at 4 (emphasis added).) The draft

memorandum on the same page made explicit that the changes were designed

to give a competitive advantage to one segment of the domestic industry—the

U.S. refiners of cane sugar—saying:

         {P}etitioner . . . has asserted that the sale of Mexican semi-refined
         sugar subject to the lower reference price of Other Sugar set in the
         original Agreement hinders the competitiveness of the U.S. cane
         refiners by diminishing the supply of Mexican sugar for their
         processing operations, supplanting their sales of refined sugar,
         and suppressing U.S. prices for refined sugar.

(Id. (emphasis added).) Commerce repeated these explanations verbatim in its

final memorandum. (P.R. 103 at 4.)

         It is Commerce’s position that the change in the polarity-based definition

of “refined sugar” was integral to the suspension agreement and critical for

Commerce’s objectives in Sugar from Mexico. (See P.R. 73 at 4–6; P.R. 103 at

4–6) Commerce stated that it believed it could not “guarantee” “crucial

benefit{s}” to its favored segment of the domestic industry without the change.




3   Other items were also modified but are not the subject of this appeal.



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(P.R. 73 at 6; P.R. 103 at 6.) The change, in reality, was a concession favoring

certain domestic industry interests over others.

      The contrast highlighted above—between some U.S. sugar refiners using

lower-polarity sugar as input, on the one hand, and another U.S. sugar refiner

(CSC Sugar) using higher-polarity sugar as input, on the other hand—is key to

understanding how the new definition of “refined sugar” was designed to

undermine CSC Sugar’s business model. Most sugar refineries built in the last

twenty years, including CSC Sugar’s, are designed to receive sugar with

polarity of at least 99.00, and when put to use efficiently, those refineries

require input with an even higher polarity. (See Exhibit 1 of ECF No. 37)

Indeed, for these modern U.S. refineries, it is more economical to have most

impurities removed at the originating mill before they receive it. (See id.) When

they receive lower-polarity input, these modern refineries have much higher

processing costs. (See id.) The American Sugar Coalition, by contrast, has

refineries and equipment dating back over a century, when raw sugar was a

lower quality as compared to today’s standards. (See id.) Commerce’s change

to 99.2 polarity lowers the polarity of a large quantity of imports, making it

easier to source lower-polarity input and much harder to source higher-polarity

input throughout the year. This, in turn, exponentially increases costs for

modern U.S. refiners (such as CSC Sugar) while simultaneously reducing costs

for older U.S. refiners (like the American Sugar Coalition). (See id.)

      The draft (and ultimately final) amended suspension agreement also

provided that “other sugar”—that is, sugar that is not “refined sugar” and



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hence of lower polarity—must be exported in bulk, freely flowing in ocean

vessels. (See 82 Fed. Reg. 31,942-3 (July 11, 2017).) Transporting sugar this

way makes it unfit for human consumption due to the possibility of

contamination. (See P.R. 73 at 5; P.R. 103 at 5.) Stepping back for a moment,

recall that Commerce in amending the suspension agreement sought to

“address the concern that a significant portion of Other Sugar is bypassing

cane refiners for direct consumption or end use.” (P.R. 73 at 4.) The in-bulk-

freely-flowing requirement completely addresses Commerce’s concern—and

with that requirement in place, Commerce did not need to also change the

polarity-based definition of “refined sugar.” Put another way, Commerce did

not explain how the change in polarity furthered the goal of avoiding lower

polarity sugar going into direct consumption, rather than simply undermining

the business model of CSC Sugar and favoring other U.S. producer interests.

It provided no rationale for how the new polarity requirement did anything but

undermine the business model of one domestic competitor: CSC Sugar.

      On August 10, 2017, CSC Sugar filed a summons in this appeal. (ECF

No. 1.) On September 11, 2017, CSC Sugar filed its Complaint, alleging that

Commerce’s determination for the suspension agreement (i) was not supported

by substantial evidence and was contrary to law because information required

to be on the record had been omitted, and (ii) the definition and treatment of

sugars (including refined and other sugars) was not supported by substantial

evidence and was contrary to law. (See ECF No. 11, ¶¶ 22–24.)




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B.    The Record Contains Documentation of Selective Ex Parte Meetings.

      On October 30, 2017, Commerce transmitted the administrative record

and filed the index to the administrative record. (See ECF No. 33.) Commerce

included a declaration representing that it provided a complete copy of the

record for the countervailing duty investigation. (ECF No. 33-4, ¶ 3.) The

declaration also represented that the index was a “complete list of the

documents comprising the administrative record pertaining” to the suspension

agreement. (Id. ¶ 4.)

      The record contains only three memoranda concerning ex parte meetings:

(1) one with representatives of importers, (2) one with representatives from the

Mexican government, and (3) one with counsel for CSC Sugar in 2018. (See

P.R. 76, 58, and 115.)

      The above-referenced meeting with representatives of importers is

reflected in a memorandum in the record of an ex parte call on June 16, 2017,

between representatives of the Sugar Users Association and Commerce officials

regarding “the draft amendments to the antidumping and countervailing duty

suspension agreements on sugar from Mexico.” (P.R. 76 (Sugar from Mexico:

Ex-parte Memo (June 21, 2017).) The Commerce officials present included two

Senior Policy Analysts from the Bilateral Agreements Unit, Enforcement &

Compliance, an Assistant Chief Counsel from the Office of Chief Counsel for

Trade Enforcement & Compliance, and a Staff Attorney from that same office.

(Id.) The Commerce officials at this meeting did not include the Secretary of

Commerce or other high-level political appointees. (Id.)



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      The meeting with representatives of the Mexican government is reflected

in a short memorandum in the record of a meeting on March 9, 2017, between

Secretary of Commerce Wilbur Ross and Mexican Secretary of Economy

Ildefonso Guajardo Villarreal regarding sugar and the suspension agreement.

(P.R. 58.)

      The meeting with counsel for CSC Sugar is reflected in a memorandum

in the record of a phone call on October 4, 2018, between the Director for

Bilateral Agreements Sally C. Gannon, Commerce staff, and counsel to CSC

Sugar, regarding CSC Sugar’s submission of bracketed materials pursuant to

Commerce memoranda. (P.R.115.)

C.    The Record Omits Documentation of Several Other Ex Parte
      Meetings.

      Although Commerce officials participated in numerous other ex parte

meetings during the course of the suspension agreement talks, these meetings

are not memorialized in the record. One example of such an ex parte meeting

is referred to in an article from the Financial Times dated May 31, 2017—an

article this Court has already taken judicial notice of. (ECF No. 57 at 8; see

also ECF No. 11, Ex. 1.) The article notes that Secretary Ross had discussions

with his Mexican counterparts and told them that he needed “just 15 minutes

to seal the deal with {the} US industry.” (ECF No. 11, Ex. 1 at 4.) The article

also reports that there was a subsequent phone call among Secretary Ross and

domestic-industry representatives. (Id. at 4–5.) A spokesman for Secretary

Ross disputed some of the details of the calls but did not dispute that they




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occurred. (See id.) The record contains no ex parte memoranda documenting

these calls.

       The article also states, in referring to Mr. Jose “Pepe” Fanjul:

       Mr. Fanjul’s role in the sugar talks has been entirely behind the
       scenes, according to sources close to the talks. In recent weeks
       the sugar baron has visited Washington as part of the negotiations,
       according to one person close to the situation. He and his son
       have also spoken multiple times to Mr. Ross by phone.

(Id. at 2.)

       Mr. Fanjul controls Petitioner Florida Crystals Corporation along with his

brother, Alfonso “Alfy” Fanjul Jr.4 No memoranda were put on the record

regarding the substance of these multiple reported contacts.

       Moreover, given the widely-reported social contacts between Secretary

Ross and the Fanjuls,5 it would not be surprising if there were also other

meetings with Secretary Ross that addressed these agreements.

D.     The Court Orders Commerce to Supplement the Record with
       Documentation of All Ex Parte Meetings, But Commerce Fails to
       Fully Comply with the Court’s Order.

       In December 2017, CSC Sugar filed motions to complete the

administrative record. (ECF No. 36.) In its Opinion & Order granting in part

CSC Sugar’s motion, the Court took judicial notice of the Financial Times

article and recognized that Commerce does not “dispute that these ex parte

4(Company Overview of Florida Crystals Corporation, available at
https://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapId=787497.)
5(See, e.g., “Sugar Talks May Hint at Trump Approach to U.S. Mexico Trade,” N.Y. Times, June
4, 2017; “Flying South,” Jan. 23, 2017, http://www.newyorksocialdiary.com/party-
pictures/2017/flying-south; “Iconic shoots,” Oct. 13, 2016,
http://www.newyorksocialdiary.com/social-diary/2016/iconic-shoots;
http://shinyshots.palmbeachdailynews.com/mycapture/enlargePopup.asp?iframe=1&image=6
0900950&event=2106523&CategoryID=48024&pSlideshow=1 (photo of Alex Fanjul and Wilbur
Ross laughing together).)



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calls occurred.” (ECF No. 57 at 7–8.)6 The Court found that “there exists a

sufficiently reasonable basis to believe the record is incomplete,” (id. at 8), and

ordered Commerce to “supplement the administrative record on or before July

11, 2018 by filing with the court the record of any ex parte meeting,” (id. at 22).

       In response to the Court’s orders, Commerce filed additional materials to

supplement the record. (See ECF Nos. 67–73.) But none of the supplemental

materials contained memoranda memorializing the ex parte meetings described

in the Financial Times article. What is more, the materials Commerce

submitted reveal and confirm that Commerce had numerous ex parte meetings.

(See generally id.) Commerce’s documents produced to the Court disclose that

in the one-year period between June 2016 and June 2017, at least 41 meetings

and phone calls took place between just Secretary Ross, Assistant Secretary for

Enforcement & Compliance Paul Piquado, and/or Director of the Office of

Policy and Strategic Planning Earl Comstock, and representatives of the

domestic sugar industry. (See ECF Nos. 67-1, 67-2, 67-3, 72–74.) Although

Commerce’s documents show that these meetings took place, Commerce

produced no memoranda memorializing these meetings (contemporaneously or

subsequently) in the manner required, as further explained below. See infra

Argument I. For example, emails between Secretary Ross and Mr. Fanjul

confirm that ex parte meetings occurred, but do not include, among other

things, (i) the time of those ex parte communications or (ii) a summary of the

6The Court also noted that Commerce’s “actual recordkeeping” presented a conundrum: if
Commerce memorialized and included in the record two (or three) ex parte meetings, why did it
not also memorialize and include the ex parte meetings described in the Financial Times
article? (See ECF No. 57 at 17–18.)



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content of the discussions. (See C.R. 17 at 124-127). Indeed, Commerce

admitted that, because of the time elapsed since the meetings, it could no

longer “summarize the information that was presented or discussed during

meetings and phone calls.” (P.R. 106).

      Moreover, Commerce’s supplemental documents indicate that Commerce

may have had additional ex parte meetings that have not been revealed to the

Court or the parties. For example, during the tail end of negotiations in the

spring of 2017, Mr. Fanjul [



                                         ] (C.R. 23 at 12–13.) Shortly

thereafter, Commerce did, in fact, negotiate a change in polarity to 99.2. (See

ECF No. 57 at 4.) And in June 2017, Director Comstock wrote to [

                                                                                 ]

(C.R. 29 at 9.) The record, however, does not reveal what meetings took place

or with whom they occurred, see infra Argument I, that influenced Commerce

to continue bargaining with Mexico for the change in polarity.

      For the remainder of this brief, the ex parte meetings that occurred but

were not memorialized—including the ex parte meetings described in the

Financial Times article; the 41 meetings between Secretary Ross, Assistant

Secretary Piquado, and/or Director Comstock, and representatives of the

domestic sugar industry; and the possible other meetings—are referred to as

the “Unmemorialized Ex Parte Meetings.”




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                                   ARGUMENT

      The Act imposes an obligation on Commerce to create and maintain a

record of all ex parte meetings related to a proceeding. Here, Commerce failed

to create and maintain records of ex parte meetings. Commerce’s failure runs

contrary to the letter and the purpose of the Act, forecloses effective judicial

review, and is not mere harmless error. Particularly because CSC Sugar

already exhausted its non-dispositive remedies when it moved to complete the

record, the Court should now grant CSC Sugar’s motion for judgment on the

agency record and vacate the suspension agreement.

I.    The Court Should “Hold Unlawful” the Suspension Agreement and
      Grant CSC Sugar’s Motion, Because Commerce Acted “Not in
      Accordance with Law.”

      This action challenges the suspension agreement under the Act’s

judicial-review provision at 19 U.S.C. § 1516a(a)(2)(B)(iv). (See ECF No. 11, ¶

1.) When a court reviewing Commerce’s action under that provision concludes

that Commerce’s “determination, finding, or conclusion” is “unsupported by

substantial evidence on the record, or otherwise not in accordance with law,”

then it “shall hold unlawful” Commerce’s action. § 1516a(b)(1)(B)(i) (emphasis

added).

      Under § 1516a(a)(2), the Court reviews both the substantive merits and

“procedural correctness” of Commerce’s action. Valeo N. Am., Inc. v. United

States, 277 F. Supp. 3d 1361, 1365 (Ct. Int’l Trade 2017) (quoting Miller & Co.

v. United States, 824 F.2d 961, 964 (Fed. Cir. 1987)). Indeed, the Court “shall

hold unlawful” Commerce’s action as “not in accordance with law,” §



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1516a(b)(1)(B)(i), if “Commerce has conducted the administrative proceeding in

a manner that is contrary to law,” Valeo N. Am., 277 F. Supp. 3d at 1365.

       A.     The Act Requires Commerce to Maintain a Record of All Ex
              Parte Meetings.

       Using “clear and unambiguous” language, § 1516a(b)(2)(A)(i) requires

that the record of a countervailing duty proceeding include “all information

presented to or obtained by” Commerce during the proceeding. (ECF No. 57 at

9–11); see also C.I.T. Rule 73.2(a). Among other things, § 1516a(b)(2)(A)(i)

expressly states that the record must include “all governmental memoranda

pertaining to the case and the record of ex parte meetings required to be kept

by section 1677f(a)(3).” See also 19 C.F.R. § 351.104.

       Section 1677f(a)(3), again using “clear and unambiguous” language, (ECF

No. 57 at 11), imposes affirmative obligations on Commerce to create and

maintain records of ex parte meetings:

       The administering authority and the Commission shall maintain a
       record of any ex parte meeting between—

       (A)   interested parties or other persons providing                      factual
       information in connection with a proceeding, and

       (B)   the person charged with making the determination, or any
       person charged with making a final recommendation to that
       person, in connection with that proceeding

       if information relating to that proceeding was presented or
       discussed at such meeting.

§ 1677f(a)(3).7 Commerce’s obligation to maintain these records exists even if

an adverse party has “made no objection to the absence of such a


7“Meetings” includes telephone calls. See generally F. Lli De Cecco Di Filippo Fara San Martino
S.P.A. v. United States, 980 F. Supp. 485, 489 (Ct. Int’l Trade 1997).


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memorandum in the record,” Kao Hsing Chang Iron & Steel Corp. v. United

States, 140 F. Supp. 2d 1379, 1384 (Ct. Int’l Trade 2001) (citation omitted),

and even if the records “will contain material that is . . . business proprietary,

privileged, {or} classified,” 19 C.F.R. § 351.104.

      To satisfy its obligation, Commerce must maintain memoranda

memorializing each ex parte meeting that includes “the identity of the persons

present at the meeting, the date, time, and place of the meeting, and a

summary of the matters discussed or submitted.” § 1677f(a)(3). The

memoranda must be included in the official “record of the proceeding,” id., and

must be available for inspection and copying, see 19 C.F.R. § 351.104(b).

      B.     When It Failed to Maintain a Record of All Ex Parte Meetings,
             Commerce Acted “Not in Accordance with Law.”

      In its Opinion & Order on CSC Sugar’s motion to complete the

administrative record, this Court ordered Commerce to supplement the record

with memoranda of ex parte meetings. If it did so, Commerce would then

satisfy its obligations under § 1516a(b)(2)(A)(i), which relates directly to record

completeness. Although Commerce responded to the Court’s order, it did not

produce memoranda of the Unmemorialized Ex Parte Meetings, nor did it

withhold them on grounds of privilege or other protections. This omission

leads to one conclusion: Commerce never created memoranda memorializing

those ex parte meetings in the first instance, and it is not reliably able to create

the memoranda now. Commerce admitted this before the Court when it stated:

“Commerce did not contemporaneously prepare memoranda summarizing ex

parte meetings relating to the AD and CVD amendments.” (P.R. 106.)


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Commerce explains further that it is unable to produce such memoranda

today, as “it is not possible to summarize the information that was presented or

discussed during meetings and phone calls.” (Id.) When it failed to create and

maintain a proper record of the Unmemorialized Ex Parte Meetings, Commerce

violated its statutory obligation under § 1677f(a)(3) to “maintain a record of any

ex parte meeting . . . .”

      On multiple occasions, this Court has held that Commerce violated the

Act by failing to maintain a record of ex parte meetings. See, e.g., Nippon Steel

Corp. v. United States, 118 F. Supp. 2d 1366 (Ct. Int’l Trade 2000), rev’d on

other grounds, 337 F.3d 1373 (Fed. Cir. 2003); Kao Hsing, 140 F. Supp. 2d

1379; De Cecco, 980 F. Supp. 485. In Nippon, for example, Nippon sought to

vacate an antidumping order because Commerce failed to make timely

memoranda of its ex parte meetings with various domestic groups. Summaries

of the meetings made it clear that factual information “highly relevant to

critical circumstances findings” had been conveyed. 118 F. Supp. 2d at 1373.

While not disputing that the ex parte meetings occurred, Commerce argued in

response that the information it obtained during those meetings was included

in the record in some other manner, thus relieving it from its obligation under

§ 1677f(a)(3). Id. But the Court rejected this argument, reasoning that

“Commerce is not entitled to choose which covered ex parte meetings it will

memorialize, based on its own identification of redundancies.” Id. Indeed,

“{p}arties are entitled to know when and how information was conveyed; they

should not have to rely on subtle judgments by Commerce officials or



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employees about whether factual information is important, is already in the

record in some other form, or is even useful to the agency or to the parties.” Id.

By neglecting to memorialize the meetings in the form required by statute,

Commerce had violated the Act. Id. at 1373–74.8

       Similarly in Kao Hsing, the plaintiff alleged that Commerce failed to

include in the “administrative record a record of an ex parte meeting between

Commerce officials and an interested party.” 140 F. Supp. 2d at 1382. The

Court agreed and held that “{b}oth section 1677f(a)(3), and the case law

construing it, compel the conclusion that Commerce was required to make a

memorandum of {an ex parte} meeting, and to include such memorandum in

the record for review.” Id.9

       Here, like in Nippon, there is no dispute that the Unmemorialized Ex

Parte Meetings actually occurred. (ECF No. 57 at 7–8); see Nippon, 118 F.

Supp. 2d at 1372. This Court has, in addition, taken judicial notice of the

Financial Times article. (ECF No. 57 at 8); see Kori Corp. v. Wilco Marsh

Buggies & Draglines, Inc., 761 F.2d 649, 657 (Fed. Cir. 1985) (“Issues decided


8 In Nippon, despite finding that Commerce violated § 1677f(a)(3) by filing to maintain a record
of ex parte meetings, the Court determined that Commerce’s error was harmless, because the
final critical circumstances decision was actually in Nippon’s favor. 118 F. Supp. 2d at 1374 &
n.7. The Court thus rejected Nippon’s request to vacate the final determination. Id. Here, the
situation is the opposite: Commerce’s error was not harmless because Commerce’s
determination was not in CSC Sugar’s favor and resulted in significant financial harm to CSC
Sugar. See also infra Argument II.B.
9 In Kao Hsing, the ex parte meetings at issue were between Commerce officials and counsel for
the plaintiff. 140 F. Supp. 2d at 1380–81. Thus, the Court remedied Commerce’s violation by
ordering that the administrative record be supplemented with the plaintiff’s proposed affidavits
recounting the meetings. Id. at 1384. Such a remedy is not possible or meaningful here: CSC
Sugar was harmed by Commerce’s failure to maintain memoranda of ex parte meetings with
others, and Commerce has admitted that it could no longer “summarize the information that
was presented or discussed during meetings and phone calls.” (P.R. 106.)



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at an earlier stage of litigation, either explicitly or by necessary inference from

the disposition, constitute the law of the case.”). And this Court has already

determined, at least implicitly, that these ex parte meetings were required to be

documented and made part of the administrative record under § 1677f(a)(3).

(See generally ECF No. 57.)

      Moreover, tracing the statutory elements confirms that the

Unmemorialized Ex Parte Meetings triggered Commerce’s obligation to maintain

a record. First, there can be no dispute that the omitted ex parte meetings fall

under subsection (A) of § 1677f(a)(3), because the persons involved in those

meetings, such as CSC Sugar or Mr. Fanjul, constitute “interested parties.”

      Second, under subsection (B) of § 1677f(a)(3), a record should have been

made of the ex parte meetings because they would have involved Secretary

Ross, “the person charged with making the determination.” § 1677f(a)(3)(B).

Meetings involving other Commerce officials also qualify under subsection (B)

because individuals may have made “a final recommendation to” the person

making the determination. Id. Even if those individuals may not have made

final recommendations, multiple courts have explained that memoranda about

ex parte meetings cannot be omitted from the record merely because they

included lower-level Commerce officials. See Kao Hsing, 140 F. Supp. 2d at

1382 (noting that the “titles of agency officials” are irrelevant, and rejecting the

“Government’s argument that, in the absence of the Secretary, either the

Assistant Secretary or Deputy Assistant Secretary must be present in order to

trigger application of the statute. . . .”); De Cecco, 980 F. Supp. at 489 (“In



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reality, unfair trade investigations are conducted by staff people at Commerce

and not by the person making the final determination.”). Commerce cannot

dispute that meetings with lower-level Commerce officials are relevant, as it

included in the record summaries of other meetings with these individuals,

such as Policy Analysts and a Staff Attorney. See De Cecco, 980 F. Supp. at

489.

       The meetings also satisfy § 1677f(a)(3), because “information relating to

that proceeding was presented or discussed at such meeting.” § 1677f(a)(3).

The facts demonstrate that the meetings involved information relating to “the

sugar talks” and “the negotiations.” (See ECF No. 11, Ex. 1; ECF No. 37 Ex. 3-

4.)10 As in Nippon, “press reports” and other documentation make it clear that

“factual information was conveyed,” which was “highly relevant” to Commerce’s

findings and determination. Nippon, 118 F. Supp. 2d at 1373 (citing §§

1673b(e), 1673d(a)(3)). Thus, the subject matter discussed at the ex parte

meetings “clearly falls within the ambit of section 1677f(a)(3).” Kao Hsing, 140

F. Supp. 2d at 1383.

       In addition, as this Court has recognized in this case, Commerce’s

inclusion in the record of some ex parte meetings also highlights the glaring

omission of other ex parte meetings. (ECF No. 57 at 17–18); see also De Cecco,

980 F. Supp. at 489 (reasoning that where “{t}he record contains at least two

summaries of ex parte meetings,” additional “ex parte meeting memorand{a}


10 It is irrelevant if non-Commerce officials initiated the ex parte meetings. See Kao Hsing, 140
F. Supp. 23 at 1383 (“The statute, of course, makes no distinction with respect to which entity
initiates contact.”).



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should have been placed in the record as it would have been consistent with

Commerce’s practice in this investigation”); Kao Hsing, 140 F. Supp. 2d 1383

(same).

      Ultimately, by failing to create and maintain a proper record of the

Unmemorialized Ex Parte Meetings, Commerce violated § 1677f(a)(3) and, as a

result, § 1516a(b)(2)(A)(i) and 19 C.F.R. § 351.104. Commerce thus “conducted

the administrative proceeding in a manner that is contrary to law.” Valeo N.

Am., 277 F. Supp. 3d at 1365. This impropriety means that the proceeding—

and the resulting suspension agreement—are “not in accordance with law”

under § 1516a(b)(1)(B)(i). The Court “shall” therefore “hold unlawful”

Commerce’s determination. § 1516a(b)(1)(B)(i).

      C.    Commerce’s Actions Frustrated the Act’s Purpose.

      In addition to violating the letter of the Act, Commerce also frustrated the

Act’s purpose. Congress intended that countervailing duty investigations be

“transparent.” S. Rep. No 96-249, Trade Agreements Act of 1979, at 38, 41

(1979), reprinted in 1979 U.S.C.C.A.N. 424, 427. When Congress amended the

Act in 1979, it made “significant changes in existing law” to foster “greater

transparency of investigations.” Id. at 38; see also id. at 41, 45. To that end,

§§ “1516a(b)(2), 1677f(a)(3), and 1671c(e) convey clear Congressional intent to

require Commerce to maintain a complete record of suspension agreement

proceedings and related determinations . . . .” (ECF No. 57 at 9.)

      Legislative history further confirms that the purpose of the 1979

amendments “was to ensure the ‘maximum availability of information to



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interested parties’ so that ‘all parties to the proceeding are more fully aware of

the presentation of information’ to Commerce.” (Id. at 11 (quoting S. Rep. 96-

249, Trade Agreements Act of 1979, at 100 (1979), reprinted in 1979

U.S.C.C.A.N. 381, 486).) “{E}nacted to guarantee broad access to information

presented to the agency,” (id. at 11–12), § 1677f(a)(3) ensures that “parties to

the proceeding {are} able to inspect the memoranda so that they may comment

on the factual data contained therein,” Nippon, 118 F. Supp. 2d at 1373–74;

see Wieland–Werke AG v. United States, 4 F. Supp. 2d 1207, 1212–13 (Ct. Int’l

Trade 1998).

      When Commerce violates § 1677f(a)(3) and fails to maintain memoranda

contemporaneously, as it has done here, then a party—such as CSC Sugar—

cannot possibly inspect or comment on those memoranda in a timely manner.

See § 1516a(b)(2)(A)(i), 19 C.F.R. § 351.104. Commerce’s failure to maintain a

proper record of the Unmemorialized Ex Parte Meetings violates § 1677f(a)(3)’s

“guarantee” of “broad access to information presented to the agency,” (ECF No.

57 at 11–12), and upends Congress’s intent “to ensure the ‘maximum

availability of information to interested parties,’” (id. at 11 (quoting S. Rep. 96-

249, Trade Agreements Act of 1979, at 100 (1979), reprinted in 1979

U.S.C.C.A.N. 381, 486)). With no memoranda describing the substance of

those meetings, Commerce’s investigation could never “serve procedural due

process or the goal of transparency” underlying the Act. Nippon, 118 F. Supp.

2d at 1374; see also S. Rep. No 96-249, Trade Agreements Act of 1979, at 38,

41 (1979), reprinted in 1979 U.S.C.C.A.N. 424, 427.



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      D.     Commerce’s Actions Foreclose Effective Judicial Review.

      Following proper procedure on the front end—which Commerce did not

do—goes hand-in-glove with conducting meaningful review on the back end—

which this Court now cannot do. Without the statutorily-required record of the

Unmemorialized Ex Parte Meetings, the “record is not complete enough to

provide for meaningful review” of Commerce’s determination on the suspension

agreement and CSC Sugar’s challenge to that determination. Hoogovens Staal

BV v. U.S., 4 F. Supp. 2d 1213, 1219 (Ct. Int’l Trade 1998); see also U.S. Lines,

Inc. v. Fed. Mar. Comm’n, 584 F.2d 519, 541 (D.C. Cir. 1978) (failure to disclose

ex parte communications “forecloses effective judicial review”).

      Commerce’s failure stymies this Court’s ability to exercise its authority.

Not only does CSC Sugar not know what was exchanged in the Unmemorialized

Ex Parte Meetings, but this Court on review does not know, either. How, then,

could the Court ever meaningfully evaluate Commerce’s determinations on the

merits? Indeed, Commerce’s “secrecy stands between” the Court and its

“fulfillment of {its} obligation” under § 1516a(a)(2). Home Box Office, Inc. v.

F.C.C., 567 F.2d 9, 54 (D.C. Cir. 1977). “{W}here, as here, an agency justifies

its actions by reference only to information in the public file while failing to

disclose the substance of other relevant information that has been presented to

it, a reviewing court cannot presume that the agency has acted properly, but

must treat the agency’s justifications as a fictional account of the actual

decisionmaking process and must perforce find its actions arbitrary.” Id. at

54–55.



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      In sum, Commerce’s actions were “not in accordance with,” §

1516a(b)(1)(B)(i), either the letter or the spirit of the Act or its implementing

regulation, §§ 1516a(b)(2)(A)(i), 1677f(a)(3); 19 C.F.R. § 351.104. And

Commerce’s actions foreclose effective judicial review, thereby interfering with

the Court’s functioning. For these reasons, the Court should hold Commerce’s

actions—and the suspension agreement they infected—“unlawful” and grant

CSC Sugar’s motion for judgment on the agency record. Id.; C.I.T. Rule 56.2.

II.   As a Remedy, the Court Should Vacate the Suspension Agreement.

      When the Court concludes that Commerce has violated a statute or

regulation, it applies the following framework to select an appropriate remedy.

First, the Court considers whether the applicable statute or regulation “spells

out a remedy for failure to comply.” Guangdong Chemicals Imp. & Exp. Corp. v.

United States, 414 F. Supp. 2d 1300, 1309 (Ct. Int’l Trade 2006). “{I}f no

remedy is stated,” then the Court next considers whether the law is “intended

to provide important procedural benefits.” Id. If the law is intended to provide

important procedural benefits, then the Court must “void the agency action

unless the agency demonstrates that the violation was harmless error.” Id.

      A.     Because the Relevant Statutes and Regulation Are “Intended
             to Provide Important Procedural Benefits,” the Court Must
             Vacate the Suspension Agreement Unless Commerce Shows Its
             Error Was Harmless.

      Separately and together, § 1516a(b)(2)(A)(i), § 1677f(a)(3), and 19 C.F.R. §

351.104 are “intended to provide important procedural benefits.” Guangdong

Chemicals, 414 F. Supp. 2d at 1309. As described above, these laws are

intended to ensure transparency and fair process. See supra Argument I.C.


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This Court has on multiple occasions provided relief to parties harmed by

Commerce’s violation of these laws. See supra Argument I.B. Indeed, if

Commerce shirks its duties under these laws, both the administrative process

and judicial review of that process become compromised. See supra Arguments

I.C, I.D; see infra Argument II.B.

      Because these laws are intended to provide important procedural

benefits, the Court must “void {Commerce’s} action unless {Commerce}

demonstrates that the violation was harmless error.” Guangdong Chemicals,

414 F. Supp. 2d at 1309; see also Portland Audubon Soc. v. Endangered

Species Comm., 984 F.2d 1534, 1548 (9th Cir. 1993) (“{W}here the so-called

‘record’ looks complete on its face . . . but there is a subsequent showing of

impropriety in the process, that impropriety creates an appearance of

irregularity which the agency must then show to be harmless.”). That is,

Commerce bears the burden of proving that its violation was harmless error.

As explained below, Commerce cannot possibly satisfy this burden. See infra

Argument II.B.

      What is more, vacatur—voiding Commerce’s action and setting aside the

suspension agreement—is the only appropriate remedy at this stage in the

case. CSC Sugar already exhausted its non-dispositive option when it filed and

prevailed on a motion to complete the record. But that motion did not result in

compliance with the Act. Perhaps this should not come as a surprise, because

“agencies, left to themselves, have a built-in incentive not to create records of

unpopular decisions or, less nefariously, just do not think about preserving



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information necessary to protect the legal and financial rights . . . of persons

directly affected by the agency’s activities.” Citizens for Responsibility & Ethics

in Washington v. Pruitt, 319 F. Supp. 3d 252, 259–60 (D.D.C. 2018) (quoting

Am. Friends Serv. Comm. v. Webster, 720 F.2d 29, 41 (D.C. Cir. 1983)).

       Now, further remedial action is required. What other options does the

Court have to provide meaningful relief to CSC Sugar, other than vacatur of the

suspension agreement in its entirety?11 Any other remedy, such as requiring

Commerce to place something on the record “after all decision-making is

complete,” would be “useless and disrespectful of the administrative process,

as well as violative of the statute.” Nippon, 118 F. Supp. 2d at 1373; cf. Allina

Health Servs. v. Sebelius, 746 F.3d 1102, 1110–11 (D.C. Cir. 2014) (affirming

remedy of vacatur when agency committed “fundamental flaw” of “deficient

notice”).12 Commerce, in fact, has admitted that it could no longer “summarize

the information that was presented or discussed during meetings and phone

calls.” (P.R. 106.)




11As explained above, the change in the polarity-based definition of “refined sugar” was
integral to the suspension agreement and critical for Commerce’s objectives in Sugar from
Mexico. See supra Background A.
12Although the Administrative Procedure Act does not govern the action here, APA cases can
be analogous and persuasive, especially given how the Act and the APA contain similar
judicial-review provisions. Compare § 1516a(b)(1)(B)(i) (“The court shall hold unlawful any
determination, finding, or conclusion found . . . to be unsupported by substantial evidence on
the record, or otherwise not in accordance with law . . . .”) with 5 U.S.C. § 706(2) (“The
reviewing court shall hold unlawful and set aside agency action, findings and conclusions
found to be . . . otherwise not in accordance with law . . . {or} unsupported by substantial
evidence . . . .”). See generally Mid Continent Nail Corp. v. United States, 846 F.3d 1364 (Fed.
Cir. 2017) (analyzing actions of Commerce under the Act and the APA).



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       B.      Commerce Cannot Show that Its Error Was Harmless.

       Even though Commerce bears the burden of proving harmless error, see

supra Argument II.A, CSC Sugar takes the opportunity here to explain why

Commerce cannot possibly meet that burden.

       Foreclosing the opportunity to comment amounts to a “complete

failure”—not a mere “technical” defect—that courts almost never hold to be

harmless error. Mid Continent Nail Corp. v. United States, 846 F.3d 1364,

1383-84 (Fed. Cir. 2017). In the APA context, for example, when Commerce

“utter{ly} fail{s} to comply with notice and comment,” that error “cannot be

considered harmless if there is any uncertainty at all as to the effect of that

failure.” Id. (quoting Sugar Cane Growers Co–op. of Fla. v. Veneman, 289 F.3d

89, 96 (D.C. Cir. 2002)).13 Recently in Linyi Bonn Flooring Mfg. Co. v. United

States, this Court held that Commerce’s procedural violation was not harmless

error because the violation was “a consequential one in that it not only had the

potential to affect the outcome of the review proceeding but also prejudiced” the

plaintiff. 222 F. Supp. 3d 1274, 1289 (Ct. Int’l Trade 2017). In short,

prejudicial error—error that is not harmless—means “injury to an interest that

the statute, regulation, or rule in question was designed to protect.” Id.

(quoting Intercargo Ins. Co. v. United States, 83 F.3d 391, 396 (Fed. Cir. 1996)).

       Commerce’s violation of the Act and the implementing regulation

presents a classic case of prejudicial error. The Act was “designed to protect” a


13 Technical violations (resulting in harmless error), by contrast, do not preclude the plaintiff
from having a meaningful opportunity to comment. See, e.g., Mid Continent Nail, 846 F.3d at
1384.



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party to a proceeding’s interest in having “maximum availability of information”

so as to be “more fully aware of” the information Commerce possesses and is

considering. (ECF No. 57 at 11 (quoting S. Rep. 96-249, Trade Agreements Act

of 1979, at 100 (1979), reprinted in 1979 U.S.C.C.A.N. 381, 486)); see supra

Argument I.C. Intended to provide “greater transparency” in investigations, S.

Rep. No 96-249, Trade Agreements Act of 1979, at 38 (1979), reprinted in 1979

U.S.C.C.A.N. 424, the relevant sections of the Act—including §§

1516a(b)(2)(A)(i) and 1677f(a)(3), as well as 19 C.F.R. § 351.104—“require

Commerce to maintain a complete record of suspension agreement proceedings

and related determinations,” (ECF No. 57 at 9), so that “parties to the

proceeding {are} able to inspect the memoranda so that they may comment on

the factual data contained therein,” Nippon, 118 F. Supp. 2d at 1373–74; see

Wieland–Werke, 4 F. Supp. 2d at 1212–13.

      By violating § 1677f(a)(3) when it failed to maintain memoranda of ex

parte meetings, and by violating § 1516a(b)(2)(A)(i) and 19 C.F.R. § 351.104

when it failed to make and disclose a proper record, Commerce completely

foreclosed any opportunity to inspect or comment on those memoranda.

Commerce’s violation injured CSC Sugar’s statutorily-protected interest in

being able to “inspect the memoranda so that they may comment on the factual

data contained therein,” Nippon, 118 F. Supp. 2d at 1373–74, and it directly

contravened the Act’s intent to protect CSC Sugar’s interest in having

“maximum availability of information” so as to be “more fully aware of” the

information Commerce possesses and is considering as part of the



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investigation. (ECF No. 57 at 11 (quoting S. Rep. 96-249, Trade Agreements

Act of 1979, at 100 (1979), reprinted in 1979 U.S.C.C.A.N. 381, 486).)

      Just like in Linyi Bonn, Commerce’s failure had “the potential to affect

the outcome of the review proceeding” and “also prejudiced” CSC Sugar. 222

F. Supp. 3d at 1289. Uncertainty abounds as to what would have happened

with the suspension agreement had CSC Sugar and other interested parties

had an opportunity to inspect and comment on records of the Unmemorialized

Ex Parte Meetings. It is impossible to know now how interested parties,

including CSC Sugar, would have commented on Secretary Ross’s ex parte

meetings “to seal the deal with {the} US industry,” (ECF No. 11, Ex. 1 at 4), or

on the “multiple” meetings between Ross and Mr. Fanjul and his son, (id. at 2).

By failing to maintain and disclose the required records, Commerce denied

CSC Sugar its right to meaningfully participate in the administrative process.

For that reason, even if the details of those ex parte meetings were disclosed

now, which Commerce admits it cannot do, (P.R. 106), that would not vindicate

CSC Sugar’s right to participate in the process while the process is ongoing.

See, e.g., Linyi Bonn, 222 F. Supp. 3d at 1291 (“{T}he only remedy that will

suffice is one that affords Linyi Bonn the opportunity it would have had if”

Commerce’s violation “had not occurred” in the first instance.). As an ultimate

result, this Court is now precluded from conducting effective judicial review.

See supra Argument I.D.

      In sum, Commerce’s failure to maintain and disclose a record of ex parte

communications, in violation of—and “not in accordance with”— §§



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1516a(b)(2)(A)(i), 1677f(a)(3), and 19 C.F.R. § 351.104 prejudiced CSC Sugar.

Even though the burden to show harmless error rests on Commerce, it is clear

that the error here was substantially prejudicial and not harmless: it precluded

CSC Sugar from being able to inspect and comment on information obtained by

Commerce, and it “foreclose{d} effective judicial review” of Commerce’s

determination, U.S. Lines, 584 F.2d at 541, thereby irreparably denying CSC

Sugar fair process and frustrating this Court’s ability to exercise its authority.

                                  CONCLUSION

      The Court should grant CSC Sugar’s motion for judgment on the agency

record and vacate the suspension agreement.




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     Dated this 18 day of January, 2019.

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                       CERTIFICATE OF COMPLIANCE

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The length of this brief is 7,517 words.



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                                            Jeffrey S. Neeley




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                         CERTIFICATE OF SERVICE

      A true and accurate copy of the foregoing was electronically filed on

January 18, 2019, via the Court’s ECF filing system, which automatically

serves notice on counsel of record.



                                            ________________________________
                                            Jeffrey S. Neeley




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